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 7                           UNITED STATES DISTRICT COURT
 8                                     DISTRICT OF NEVADA
 9

10   UNITED STATES OF AMERICA,

11          Plaintiff,                                  Case No. CR-S-2:05-CR-00211-KJD-GWF
                                                                      2:09-cv-01184-KJD-GWF
12   v.

13   ALEX TAUATI,                                       ORDER

14          Defendant.

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            Before the Court is Alex Tauati’s Motion to Vacate Under 28 U.S.C. 2255 (#91).
18
     I. Background
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            On October 31, 2006 Tauati pled guilty to count one of the indictment – violation of 21
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     U.S.C. §846, 841( a )(b), 841(b) (1) (A) (viii) Conspiracy to Possess with Intent to Distribute and
21
     Distribution of a Controlled Substance. The plea agreement allowed for the parties to argue whether
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     Tauati’s offense level would be increased based on possession of a dangerous weapon.
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            The Court ordered a pre-sentence investigation report and held two evidentiary hearings
24
     focused on the issue of whether Tauati was in possession of a firearm on March 1, 2005, when he
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     offered drugs to an undercover police officer. Officer Sendano testified that he saw Tauati in
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 1   possession of a gun on March 1, 2005 and that in later meetings Tauati told him “I carry my gun

 2   24/7” and other similar statements. The Court heard testimony and recordings and determined that

 3   “the Government has established the presence of a dangerous weapon in connection with the

 4   offense.” Tauati was sentenced to 135 months imprisonment and 5 years supervised release.

 5   Judgment was entered on June 18, 2007 and Tauati’s 9th Circuit appeal was dismissed on May 14,

 6   2008. This Motion was timely filed on June 29, 2009.

 7   II. Discussion

 8          Pursuant to 28 U.S.C. § 2255, a person in custody under a judgment by a district court may

 9   file a motion under this section if he seeks a determination that (1) the judgment violates the

10   Constitution or laws of the United States, (2) the court lacked jurisdiction to enter the judgment, (3)

11   the sentence exceeded the maximum allowed by law, or (4) the judgment or sentence is otherwise

12   subject to collateral review. Further, section (4)(b) states that “if the motion is not dismissed, the

13   judge must order the United States attorney to file an answer, motion, or other response within a

14   fixed time.” 28 U.S.C. § 2255(4)(b).

15          1. Ineffective Assistance of Counsel

16          Ineffective assistance of counsel claims are governed by the two-part test announced in

17   Strickland v. Washington, 466 U.S. 668 (1984). In Strickland, the Supreme Court held that a

18   petitioner claiming ineffective assistance of counsel has the burden of demonstrating that (1) the

19   attorney made errors so serious that he or she was not functioning as the “counsel” guaranteed by the

20   Sixth Amendment, and (2) that the deficient performance prejudiced the defense. Williams v. Taylor,

21   529 U.S. 362, 390–391 (2000) (citing Strickland, 466 U.S. at 687). To establish ineffectiveness, the

22   defendant must show that counsel’s representation fell below an objective standard of

23   reasonableness. Id. To establish prejudice, the defendant must show that there is a reasonable

24   probability that, but for counsel’s unprofessional errors, the result of the proceeding would have been

25   different. Id. A reasonable probability is “probability sufficient to undermine confidence in the

26   outcome.” Id. Additionally, any review of the attorney’s performance must be “highly deferential”

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 1   and must adopt counsel’s perspective at the time of the challenged conduct, in order to avoid the

 2   distorting effects of hindsight. Strickland, 466 U.S. at 689. It is the petitioner’s burden to overcome

 3   the presumption that counsel’s actions might be considered sound trial strategy. Id. A strategic

 4   decision to pursue a particular defense to the exclusion of other available defenses is presumed

 5   reasonable. Id. at 690–91; Bell v. Cone, 535 U.S. 685 (2002); Anderson v. Calderone, 232 F.3d

 6   1053, 1087–90 (9th Cir.2000).

 7                  a. Possession of a Dangerous Weapon

 8          Tauati argues that his counsel, Michael Sanft, was ineffective in arguing that Tauati did not

 9   possess a weapon because Sanft failed to contact Clint Roberts to investigate whether he could be

10   used as a witness. According to Tauati, in 2004 Clint Roberts purchased a weapon from Tauati and

11   destroyed it. Tauati has submitted an affidavit from Roberts to this effect. Tauati argues that if Sanft

12   obtained this mitigating evidence from Roberts, Tauati would not have been found to be in

13   possession of a weapon and would have had a lower base offense level.

14          Tauati has failed to demonstrate that Sanft’s conduct was below the objective standard of

15   reasonableness. This Court strongly presumes that counsel made his decision not to contact Roberts

16   in the exercise of reasonable professional judgment. See Strickland, 466 U.S. at 688. In reviewing

17   the transcript of the proceeding it is clear that Sanft effectively functioned as counsel for Tauati by

18   cross-examining the officer about the weapon, his ability to see it, and whether or not it could have

19   been a toy or anything else.

20          Tauati also fails to show prejudice. The police officer who testified at the hearing

21   unequivocally stated that he saw Tauati with a handgun and noted that the weapon had an extended

22   magazine. The officer believed it the gun was .40 caliber because it appeared to be the same caliber

23   as the officer’s own weapon. The officer then checked Clark County records and discovered that a

24   .40 caliber Hi-Point handgun is registered to Tauati. However, the officer never testified that the

25   make of the gun he saw was Hi-Point or that it was the gun registered to Tauati. Clint Roberts’

26   testimony that he destroyed the .40 caliber Hi-Point registered to Tauati, even if credited, would not

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 1   have changed the outcome of the proceeding. The officer’s testimony that he saw Tauati with a

 2   handgun combined with Tauati’s statements to the officer that he always carried a gun provided the

 3   Court with sufficient evidence to conclude that Tauati was in possession of a firearm, even if it was

 4   not the same weapon registered to him. Accordingly, the ineffective assistance of counsel claim

 5   related to the possession of a dangerous weapon enhancement fails.

 6                     b. Sentencing Disparity

 7          Tauati argues that his counsel was ineffective because he failed to argue that there was a

 8   disparity in sentencing between Tauati and co-defendant Jason Sparks. Tauati has not pointed to any

 9   error in the calculation of the sentences. Instead, Tauati states that his counsel should have argued

10   that his sentence was in error because Sparks received a sentence only 9 months longer than his own

11   and did not receive supervised release. However, the Judgment (#55) against Spark reflects a

12   sentence of 151 months – 16 months longer than Tauati’s – and is followed by 5 years of supervised

13   release. Any argument by Sanft that there was disparity between Tauati and Spark’s sentences would

14   not have affected the sentence imposed by the Court. Accordingly, the claim for ineffective

15   assistance of counsel based on sentencing disparity fails.

16   III. Conclusion

17          IT IS HEREBY ORDERED THAT Alex Tauati’s Motion to Vacate Under 28 U.S.C. 2255

18   (#91) is DENIED.

19          DATED: June 5, 2012

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21                                                 _____________________________
                                                   Kent J. Dawson
22                                                 United States District Judge

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